         Case 8-22-70914-ast        Doc 210       Filed 01/05/23       Entered 01/05/23 12:43:22




                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK

In re:

BRICKCHURCH ENTERPRISES, INC.,                          Chapter 11

                                                        Case No. 8-22-70914-ast
                                  Debtor.
                                                        Judge Alan S. Trust


          NOTICE OF FIRST INTERIM FEE APPLICATION OF DUANE MORRIS
          LLP AS SPECIAL LITIGATION COUNSEL TO THE DEBTOR FOR THE
        ALLOWANCE AND PAYMENT OF COMPENSATION FOR SERVICES AND
           REIMBURSEMENT OF EXPENSES FOR THE PERIOD BEGINNING
         SEPTEMBER 1, 2022, THROUGH AND INCLUDING DECEMBER 16, 2022

     PLEASE TAKE NOTICE that the following appended application was filed on Thursday,

January 5, 2023:

           •   First Interim Fee Application of Duane Morris LLP as Special Litigation Counsel to
               the Debtor for the Allowance and Payment of Compensation for Services and
               Reimbursement of Expenses for the Period Beginning September 1, 2022, Through
               and Including December 16, 2022 (“Application”).

          PLEASE TAKE FURTHER NOTICE that a hearing to consider the Application shall

be conducted before the Honorable Alan S. Trust, Chief U.S. Bankruptcy Judge, U.S.

Bankruptcy Court for the Eastern District of New York (“Court”), Alfonse M. D’Amato Federal

Courthouse, 290 Federal Plaza, Central Islip, NY 11722, on January 25, 2023, at 11:00 a.m.

ET. 1

          PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief sought in the

Application must be made in writing no later than January 24, 2023, at 4:00 p.m. ET (the

“Response Deadline”), and conform to the Federal Rules of Bankruptcy Procedure and the Local

Rules for the Court and be filed with the Court and served so as to be actually received by the

undersigned special litigation counsel to the Debtor, Duane Morris LLP, 1540 Broadway, New

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 At a prior hearing on December 12, 2022, the Court orally advised that it would hear the Application on January
25, 2023, at 11:00 a.m. to the extent filed on or before January 6, 2023.
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York, NY 10034; Attn: Brett L. Messinger; email: blmessinger@duanemorris.com.            Filing

instructions may be found on the Court’s website at https://www.nyeb.uscourts.gov.

       PLEASE TAKE FURTHER NOTICE that the hearing will be conducted virtually.

Any parties wishing to participate must do so by making arrangements with the Court.

Instructions regarding hearings before the Court may be accessed on the Court’s website at

https://www.nyeb.uscourts.gov/content/chief-judge-alan-s-trust.

       PLEASE TAKE FURTHER NOTICE that if no objections or responses are timely

filed and served with respect to the Application, Duane Morris LLP may, on or after the

Response Deadline, submit to the Court an order substantially in the form of the proposed order

attached as Exhibit B to the Application, which order may be entered without further notice or

opportunity to be heard.


Dated: January 5, 2023                             Respectfully submitted,

                                                   DUANE MORRIS LLP

                                                   /s/ Brett L. Messinger_____________
                                                   Brett L. Messinger
                                                   1540 Broadway
                                                   New York, NY 10036
                                                   Tel.: 215.979.1508
                                                   Email: blmessinger@duanemorris.com

                                                   SPECIAL LITIGATION COUNSEL
                                                   FOR THE DEBTOR




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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK

In re:

BRICKCHURCH ENTERPRISES, INC.,                 Chapter 11

                                               Case No. 8-22-70914-ast
                               Debtor.
                                               Judge Alan S. Trust


        FIRST INTERIM FEE APPLICATION OF DUANE MORRIS LLP AS
          SPECIAL LITIGATION COUNSEL TO THE DEBTOR FOR THE
     ALLOWANCE AND PAYMENT OF COMPENSATION FOR SERVICES AND
        REIMBURSEMENT OF EXPENSES FOR THE PERIOD BEGINNING
      SEPTEMBER 1, 2022, THROUGH AND INCLUDING DECEMBER 16, 2022

Name of Applicant:                                 Duane Morris LLP

Authorized to Provide Professional
Services to:                                       Debtor and Debtor in Possession

Date of Retention:                                 November 16, 2022, nunc pro tunc to
                                                   September 1, 2022

Period for Which Compensation
and Reimbursement Is Sought:                       September 1, 2022, through and including
                                                   December 16, 2022

Amount of Compensation Sought as
Actual, Reasonable, and Necessary:                 $290,850.00

Amount of Expense Reimbursement
Sought as Actual, Reasonable, and
Necessary:                                         $4,679.93


This is a(n):  Monthly     Interim       Final application.
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                             PRIOR APPLICATION HISTORY

                                        Requested                 Approved          Order
                                                                                  Approving
              Date     Period
Application                       Fees       Expenses       Fees       Expenses
              Filed   Covered



                      Totals:   $0.00        $0.00        $0.00       $0.00
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          SUMMARY OF PROFESSIONALS AND PARAPROFESSIONALS
       RENDERING SERVICES FOR THE PERIOD BEGINNING SEPTEMBER 1,
            2022, THROUGH AND INCLUDING DECEMBER 16, 20222

                                                                                     Total
                                                                   Hourly
Name of Professional            Date of Bar Admission                                Billed       Total Fees
                                                                 Billing Rate
                                                                                     Hours
Thomas W. Ostrander         10/20/1978 (PA)                        $850.00            8.8           $7,480.00
Brett L. Messinger          12/3/1991 (PA)                         $850.00           209.3        $177,905.00
                            12/19/1991 (NJ)
                            8/21/2001 (NY)
Hernan Gonzalez             4/22/2019 (NY)                         $700.00             1.0             $700.00
Moneta                      (also barred in Mexico)
Morris S. Bauer             3/22/1989 (NY)                         $670.00            24.9         $16,683.00
                            12/20/1990 (NJ)
                            6/25/2008 (PA)
Ying Katie Wang             5/30/2019 (NY)                         $600.00            77.5         $46,500.00
Brian J. Slipakoff          7/23/2004 (NJ)                         $700.00            19.5         $13,650.00
                            9/15/2022 (NY)
Elizabeth M. Lacombe        5/16/2008 (CT)                         $710.00             4.5          $3,195.00
                            7/14/2010 (NH)
                            5/25/2010 (ME)
                            10/19/2016 (VT)
Vishal J. Dobaria           11/7/2011 (PA)                         $490.00             2.6          $1,274.00
                            12/2/2011 (NJ)
George W. Fitting           10/13/2017 (PA)                        $300.00            11.6          $3,480.00
Marianne S. Repetto         1/13/2014 (NY)                         $490.00            36.5         $17,885.00
Onika D. McLean             N/A (paralegal)                        $300.00             0.3              $90.00
Ashley M. Carrington        N/A (paralegal)                        $295.00             3.1             $914.50
Maura E. Hutchinson         N/A (paralegal)                        $300.00             0.2              $60.00
Joseph N. Lagalante,        N/A (paralegal)                        $270.00             0.8             $216.00
Jr.
Cate Nash                   N/A (reference desk mgr.)              $300.00             0.5             $150.00
Rodney N. Anello            N/A (tax accountant)                   $375.00             0.3             $112.50
Jeffrey A. Hayes            N/A (court clerk/library asst.)        $185.00             3.0             $555.00
                                                    TOTAL                            404.4        $290,850.00
                                   Attorney Blended Rate              $728.80




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 As a courtesy to the Debtor, Duane Morris wrote down and seeks no compensation from the Debtor for the hours
worked by two paralegals, Joel Wittlin and Alfred Knapp.
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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK

In re:

BRICKCHURCH ENTERPRISES, INC.,                  Chapter 11

                                                Case No. 8-22-70914-ast
                               Debtor.
                                                Judge Alan S. Trust


     FIRST INTERIM FEE APPLICATION OF DUANE MORRIS LLP AS SPECIAL
       LITIGATION COUNSEL TO THE DEBTOR FOR THE ALLOWANCE AND
      PAYMENT OF COMPENSATION FOR SERVICES AND REIMBURSEMENT
         OF EXPENSES FOR THE PERIOD BEGINNING SEPTEMBER 1, 2022,
                THROUGH AND INCLUDING DECEMBER 16, 2022

          Duane Morris LLP (“Duane Morris”), special litigation counsel to Brickchurch

Enterprises, Inc. (“Debtor”), the debtor in the above-captioned chapter 11 proceedings

(“Bankruptcy Case”), respectfully submits this first interim application (“Application”) for the

allowance and payment of compensation for services and reimbursement of expenses for the

period beginning September 1, 2022, through and including December 16, 2022 (“Fee Period”),

pursuant to (i) sections 330(a) and 331 of title 11 of the U.S. Code, 11 U.S.C. §§ 101–1532

(“Bankruptcy Code”); (ii) Rule 2016 of the Federal Rules of Bankruptcy Procedure

(“Bankruptcy Rules”); (iii) Local Rule 2016-1 of the Local Bankruptcy Rules for the Eastern

District of New York (“Local Rules”); (iv) General Order 613, In re Guidelines for Fees &

Disbursements for Pros. in E. Dist. of N.Y. Bankr. Cases (Bankr. E.D.N.Y. June 4, 2013)

(“General Order 613”); and (v) the Order Pursuant to Sections 327(e) and 328 of the Bankruptcy

Code, Federal Rule of Bankruptcy Procedure 2014(a), and Local Bankruptcy Rule 2014-1 for

Authority to Retain and Employ Duane Morris LLP as Special Litigation Counsel [Dkt. No. 173]

(“Retention Order”). A true and correct copy of the Retention Order is attached hereto as

Exhibit A. By this Application, Duane Morris seeks allowance and payment of compensation

for services in the amount of $290,850.00 and reimbursement of expenses in the amount of
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$4,679.93 for the Fee Period. In support of this Application, Duane Morris respectfully states as

follows:

               JURISDICTION, VENUE, AND STATUTORY PREDICATES

       1.      The Court has jurisdiction to enter a final order resolving this Application

pursuant to 28 U.S.C. §§ 157(a) and 1334 and the Order issued by the U.S. District Court for the

Eastern District of New York on December 5, 2012, In re The Referral of Matters to the Bankr.

Judges.

       2.      This is a core proceeding within the meaning 28 U.S.C. § 157(b)(2).

       3.      Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408–09.

       4.      The Court may grant the requested relief under sections 330(a) and 331 of the

Bankruptcy Code, Bankruptcy Rule 2016, Local Rule 2016-1, General Order 613, and the

Retention Order.

                           RELEVANT FACTUAL BACKGROUND

       5.      On April 30, 2022, the Debtor commenced the Bankruptcy Case by filing a

voluntary petition for relief under chapter 11 of the Bankruptcy Code.

       6.      The Debtor continues to operate as a debtor in possession under sections 1107–08

of the Bankruptcy Code. No trustee or examiner has been appointed.

       7.      On September 22, 2022, the Debtor filed the Application of the Debtor Pursuant

to Sections 327(e) and 328 of the Bankruptcy Code, Federal Rule of Bankruptcy Procedure

2014(a), and Local Bankruptcy Rule 2014-1 for Authority to Retain and Employ Duane Morris

LLP as Special Litigation Counsel [Dkt. No. 108] (“Retention Application”), seeking authority

for Duane Morris to continue providing the services described in paragraph 11 therein and any

related services to the Debtor as special litigation counsel.



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         8.      On September 30, 2022, the Debtor filed the Motion of the Debtor for Entry of an

Order Approving the Debtor’s Entry into Exit Financing Commitment (“DIP Motion”) [Dkt. No.

115].

         9.      On November 16, 2022, the Court entered the Retention Order, approving the

Debtor’s retention and employment of Duane Morris as special litigation counsel nunc pro tunc

to September 1, 2022.

         10.     Also on November 16, 2022, the Court entered the Order (I) Authorizing Debtor

to Obtain Post-Petition Secured Financing Pursuant to 11 U.S.C. §§ 105, 361, 362 and 364, and

(II) Granting Liens and Super-Priority Claims [Dkt. No. 172] (“DIP Order”), authorizing the

Debtor to borrower under and pursuant to the terms of the DIP Facility (as defined therein).

                                     RELIEF REQUESTED

          8.      By this Application, Duane Morris seeks the entry of an order, substantially in

the form attached hereto as Exhibit B (“Proposed Order”), allowing the payment of interim

compensation for professional services rendered to the Debtor during the Fee Period in the

amount of $290,850.00 and reimbursement of expenses incurred during the Fee Period in the

amount of $4,679.93. During the Fee Period, Duane Morris attorneys and paraprofessionals

expended a total of 404.4 hours for which compensation is sought.

          9.      The fees charged by Duane Morris in the Bankruptcy Case are billed in

accordance with Duane Morris’s existing billing rates and procedures in effect during the Fee

Period. The rates Duane Morris charges for the services rendered by its professionals and

paraprofessionals in the Bankruptcy Case are the same rates that Duane Morris charges for

professional and paraprofessional services rendered in comparable non-bankruptcy related

matters.       Such fees are reasonable based on the customary compensation charged by



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comparably skilled practitioners in comparable non-bankruptcy cases in a competitive national

legal market.

       10.      A detailed itemization of the services performed and time spent and the actual

out-of-pocket costs and expenses incurred by Duane Morris in connection with its

representation of the Debtor during the Fee Period is provided in the time and disbursement

records attached hereto as Exhibit C. Such records are made contemporaneously with the

rendition of services by the person rendering such services and in the ordinary course of Duane

Morris’s billing practices.

       11.      All services performed and expenses incurred by Duane Morris for which

compensation or reimbursement is requested herein were performed or incurred for and on

behalf of the Debtor.

       12.      It should be noted that all of the services rendered were for the benefit of the

Debtor, but some of which were intertwined with rendering of services to the sister company of

Debtor, called Aberdeen Enterprises, Inc., which owns real property located at 376 Gin Ln.,

Southampton, NY 11968 (“Aberdeen Property”) that adjoins the Debtor’s real property located

at 366 Gin Ln., Southampton, NY 11968 (“Brickchurch Property,” and together with the

Aberdeen Property, “Property”), and which Property makes up a single residential compound.

The Debtor and Aberdeen Enterprises, Inc., were both mortgagors on the loan that was in

default and which lead Debtor to file this Bankruptcy Case. The DIP Facility has been funded,

and there is held in Duane Morris’s client trust account the sum of $450,000 to pay for Duane

Morris’s fees and expenses, with an additional retainer to be used for future work. Although

Aberdeen Enterprises, Inc., and the Debtor are joint borrowers under the DIP Facility, it is out

of the abundance of caution that the whole amount of the fees and expenses is sought for

approval in this Application.

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                         SUMMARY OF SERVICES PERFORMED

       11.     During the Fee Period, Duane Morris has provided, among other things, the

following services to the Debtor:

       a) Advised the Debtor and coordinated with Simmons Legal PLLC (“Simmons
       Legal”)—the Debtor’s general bankruptcy counsel—in connection with the
       Debtor’s pending foreclosure appeal and other litigation, which included, as this
       Court is aware, (i) defending against the aggressive efforts of the JGB parties to
       obtain relief to foreclose on the Property notwithstanding anticipated DIP
       financing; (ii) negotiating the structure of the DIP Facility; (iii) began drafting a
       lawsuit against JGB and its principals; (iv) negotiating a resolution of the
       underlying dispute with the JGB parties; (v) negotiating the terms of the DIP
       Facility, the DIP Order, and the settlement and release of the JGB parties; (vi)
       continuing the Foreclosure Appeal (as defined herein) until obtaining a resolution
       with the JGB parties; and (vii) resolving title issues for the DIP Facility to close,
       including addressing late lien filings by the Internal Revenue Service (“IRS”) and
       devoting significant amount of time to corporate structure issues, loss corporate
       stocks, loss records and related items concerning the Debtor, Aberdeen, and
       various BVI entities.

       (b) Prepared, presented, and responded to necessary applications, motions,
       objections, orders, reports, filings and other legal papers in connection with the
       Debtor’s pending foreclosure appeal and other litigation on behalf of the Debtor;

       (c) Consulted with the Debtor’s management and other advisors in connection
       with the Debtor’s litigation matters;

       (d) Attended meetings and negotiated with representatives of the Debtor’s
       prepetition lenders and other third parties and participated in negotiations with
       respect to the above matters; and

       (e) Performed any other necessary legal services normally associated with the
       above matters.

See Retention Application ¶ 11.

       12.     The following is a summary of the professional services rendered by Duane

Morris to the Debtor during the Fee Period organized in accordance with the ABA Bankruptcy

Code Set, commonly used in bankruptcy matters. Such summary of services is not intended to

be a detailed description of the work performed but rather to highlight certain areas in which



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Duane Morris provided services to the Debtor and identify certain matters and issues that Duane

Morris addressed during the Fee Period.

B110—Case Administration: 3.7 hours

       13.      This category includes the time spent by Duane Morris professionals and

paraprofessionals performing various administrative services to represent the Debtor effectively

and efficiently, including, inter alia, filing and serving a complaint and summons seeking to

quiet title in the nature of an order striking federal tax liens from the Aberdeen Property to meet

the conditions required to secure the DIP Facility and prevent the foreclosure of such property

and the Debtor’s adjoining Brickchurch Property. The action commenced by such complaint

and summons is captioned Aberdeen Enters., Inc. v. United States, Case No. 22-7190

(E.D.N.Y.) (“Quiet Title Action”).

       14.      Administrative services also include communicating with the Debtor and

Simmons Legal regarding potential strategies for successfully exiting this Bankruptcy Case.

       15.      Duane Morris believes it was able to address all administrative issues in

connection with matters within the scope of its engagement in an effective and efficient manner.

B115—Adversary Proceedings/Litigation: 89.7 hours

       16.      This category includes the time spent by Duane Morris professionals and

paraprofessionals in preparing, presenting, and responding to necessary applications, motions,

objections, orders, reports, filings and other legal papers in connection with the Debtor’s

pending and potential litigation. Such litigation includes:

               a.      Appealing certain orders relating to the foreclosure of the Property

       entered on January 14 and February 2, 2022, by the Supreme Court of New York,

       Suffolk County, in JGB Partners, LP v. Brickchurch Enters., Inc., Case No.

       623208/2019, which action on appeal is captioned JGB Partners, LP v. Brickchurch

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       Enters., Inc., Nos. 2022-01592 & 2-22-1596 (N.Y. App. Div.) (“Foreclosure Appeal”),

       and which Foreclosure Appeal is being discontinued as part of the resolution of the

       underlying dispute with the JGB parties that was orchestrated by Duane Morris;

               b.     Preparing Complaint to be filed against JGB for its purported improper

       conduct, which was not filed as the matter with JGB was resolved prior to its filing;

               c.     Reviewing thousands of pages of documents and related items regarding

       possible causes of action on behalf of Debtor and Aberdeen Enterprises, Inc.

               d.     Preparing and commencing the Quiet Title Action that was required to be

       filed on behalf of Aberdeen Enterprises, Inc., for federal tax liens that both Debtor and

       Aberdeen Enterprises, Inc., claim were lodged against the Property in violation of the

       law;

               e.     Defending an action to recover fees for various mechanic’s liens that are

       required to be resolved as part of this bankruptcy proceeding, including an action called

       Dream Yard Landscaping Inc. v. MacBain, No. 613367/2022 (N.Y. Sup. Ct.) (“Dream

       Yard Action”), which seeks to enforce a mechanic’s lien against the Aberdeen Property

       and that may impede the sale of the Brickchurch Property; and

               f.     Certain other litigation and negotiations related to the foregoing.

       17.      These services also include communicating with the Debtor, its principals,

Simmons Legal, and opposing counsel regarding such matters.

       18.      Duane Morris believes it was able to address—and continues to address—all

litigation matters within the scope of its engagement in an effective and efficient manner.




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B160—Fee/Employment Applications: 6.7 hours

        19.     This category includes the time spent by Duane Morris professionals and

paraprofessionals preparing and drafting, inter alia, the Application.

        20.     Duane Morris has worked to limit the time spent on the review of fees to the

extent reasonably practicable. Some of the time was not billed as a courtesy to the Debtor.

B190—Other Contested Matters: 0.9 hours 3

        21.     This category includes the time spent by Duane Morris professionals and

paraprofessionals preparing and finalizing an order to show cause in the Dream Yard Action.

        22.     Duane Morris believes it was able to address—and continues to address—all

contested matters within the scope of its engagement in an effective and efficient manner.

B230—Financing/Cash Collateral: 233.7 hours

        23.     This category includes the time spent by Duane Morris professionals and

paraprofessionals negotiating, preparing, drafting, and securing the DIP Facility and DIP Order,

which authorized the Debtor to borrow in an aggregate outstanding principal amount not to

exceed $62 million, including at least $52 million in new money provided to the Debtor. DIP

Order ¶ 3(c).

        24.     Related services include addressing and resolving lien clearance issues; working

to fulfill closing requirements; negotiating and securing a closing extension, see Dkt. No. 194;

and communicating with the Debtor, Simmons Legal, and opposing counsel regarding such

matters. It should be noted that Duane Morris did not bill the Debtor for a significant amount of

billable work as a courtesy to the Debtor.

        25.     Duane Morris believes it was able to address—and continues to address—all

financing matters within the scope of its engagement in an effective and efficient manner.

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  Upon further review, Duane Morris acknowledges that the single time entry billed under B190 may be more
properly attributed to B115.
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B310—Claim Administration/Objections: 66.8 hours

       26.     This category includes the time spent by Duane Morris professionals and

paraprofessionals to strike and avoid federal tax liens asserted by the IRS against the

Brickchurch Property, resolve such contested matter by stipulation, see Dkt. No. 192, and

provide related services regarding the Quiet Title Action.

       27.     These services also include communicating with the Debtor, Simmons Legal,

and opposing counsel regarding such matters.

       28.     Duane Morris believes it was able to address—and continues to address—all

claim administration and objection matters within the scope of its engagement in an effective

and efficient manner.

B320—Plan and Disclosure Statement: 1.4 hours

       29.     This category includes the time spent by Duane Morris professionals and

paraprofessionals to address how the DIP Facility may facilitate a confirmable plan for the

Debtor.

       30.     Duane Morris believes it was able to address—and continues to address—all

plan and disclosure statement issues within the scope of its engagement in an effective and

efficient manner.

B440—Travel: 1.5 hours

       31.     This category includes the time spent by Duane Morris professionals and

paraprofessionals to hand deliver an emergency motion relating to the IRS’s lien asserted

against the Brickchurch Property to the U.S. Attorney.

       32.     Duane Morris has worked to limit the time spent on travel to the extent reasonably

practicable.



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                SUMMARY OF ACTUAL AND NECESSARY EXPENSES

       33.     Duane Morris further seeks the allowance of reimbursement of $4,679.93 for

expenses incurred during the Fee Period in the course of providing professional services to the

Debtor. Duane Morris’s disbursement policies, which are applicable in bankruptcy and non-

bankruptcy matters, pass through all out-of-pocket expenses at actual cost or an estimated

actual cost when the actual cost is difficult to determine. In this Application, Duane Morris

seeks reimbursement of actual costs of accessing Court records via PACER, conducting legal

research on Westlaw, obtaining documents from relevant Secretary of State offices, mailing and

messenger services, printing and duplication services, and certain travel expenses.      Duane

Morris submits that the expenses requested herein are reasonable, necessary, and economical.

 FACTORS TO BE CONSIDERED IN AWARDING PAYMENT OF COMPENSATION
                 AND REIMBURSEMENT OF EXPENSES

        34.    The Court may award to a professional person “reasonable compensation for

actual, necessary services rendered.” See 11 U.S.C. § 330(a)(1).         Section 330(a) of the

Bankruptcy Code provides that “[i]n determining the amount of reasonable compensation to be

awarded, the court shall consider the nature, the extent, and the value of such services, taking

into account all relevant factors, including” the following:

                  (A)    the time spent on such services;

                  (B)    the rates charged for such services;

                  (C)    whether the services were necessary to the administration of, or
                         beneficial at the time at which the service was rendered toward the
                         completion of, a case under this title;

                  (D)    whether the services were performed within a reasonable amount of time
                         commensurate with the complexity, importance, and nature of the
                         problem, issue, or task addressed; and

                  (E)    with respect to a professional person, whether the person is board
                         certified or otherwise has demonstrated skill and experience in the
                         bankruptcy field; and
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                  (F)    whether the compensation is reasonably based on the customary
                         compensation charged by comparably skilled practitioners in cases other
                         than cases under this title.

11 U.S.C. § 330(a)(3).

        35.    The clear congressional intent and policy expressed in section 330(a) of the

Bankruptcy Code is to provide for adequate compensation in order to continue to attract

qualified and competent bankruptcy practitioners to bankruptcy cases. In re Drexel Burnham

Lambert Grp., Inc., 133 B.R. 13, 20 (Bankr. S.D.N.Y. 1991) (“Congress’[s] objective in

requiring that the market, not the Court, establish attorneys’ rates was to ensure that bankruptcy

cases were staffed by appropriate legal specialists.”); In re Busy Beaver Bldg. Ctrs., Inc., 19

F.3d 833, 850 (3d. Cir. 1994) (“Congress rather clearly intended to provide sufficient economic

incentive to lure competent bankruptcy specialists to practice in the bankruptcy courts.” (internal

citations and internal quotations omitted)).

        36.    In assessing the “reasonableness” of the fees requested, the Second Circuit has

held that courts should consider twelve factors enumerated in Johnson v. Ga. Highway Express,

Inc., 488 F.2d 714 (5th Cir. 1974), abrogated on other grounds by Blanchard v. Bergeron, 489

U.S. 87, 92–93, 96 (1989). See Arbor Hill Concerned Citizens Neighborhood Ass’n v. Cty. of

Albany & Albany County Bd. of Elections, 522 F.3d 182, 190 (2d Cir. 2007) (“In determining

what rate a paying client would be willing to pay, the . . . court should consider, among others,

the Johnson factors.”). These factors are:

       (1) the time and labor required; (2) the novelty and difficulty of the questions; (3)
       the level of skill required to perform the legal service properly; (4) the preclusion
       of employment by the attorney due to acceptance of the case; (5) the attorney's
       customary hourly rate; (6) whether the fee is fixed or contingent; (7) the time
       limitations imposed by the client or the circumstances; (8) the amount involved in
       the case and the results obtained; (9) the experience, reputation, and ability of the
       attorneys; (10) the “undesirability” of the case; (11) the nature and length of the
       professional relationship with the client; and (12) awards in similar cases.

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Arbor Hill, 522 F.3d at 186 n.3 (citing Johnson, 488 F.2d at 717–19).

        37.    Duane Morris respectfully submits that consideration of these factors should

result in the Court’s allowance of the full amount of compensation sought in this Application.

        a.     Time and Labor Required. Duane Morris billed a total of 396.2 hours of
               professional services and 8.2 hours of paraprofessional services during
               the Fee Period. As evidenced by this Application, Duane Morris
               professionals and paraprofessionals worked diligently and efficiently
               without unnecessary duplication of efforts throughout the Fee Period.
               This is especially true when considering the nature and complexity of the
               issues that arose in the Bankruptcy Case and related litigation matters
               during the Fee Period. In particular, the Fee Period included many
               material issues that required researching of applicable case law,
               negotiating and securing the DIP Facility and obtaining the DIP Order,
               addressing numerous litigation and potential litigation matters, and
               advising the Debtor on legal considerations and strategies to accomplish
               its financing goals and successfully exit the Bankruptcy Case. Duane
               Morris respectfully submits that the hours spent were reasonable in light
               of the nature and complexity of the issues involved with advising a
               Debtor facing numerous litigation adversaries and in need of a DIP
               Facility exceeding $50 million.

        b.     Novelty and Difficulty of the Questions. Duane Morris tasked
               knowledgeable attorneys to research, analyze and provide advice on
               difficult and complex financing, tax, and litigation questions. As further
               described herein, Duane Morris advised the Debtor on securing the DIP
               Facility, obtaining the DIP Order, pursuing the Quiet Title Action,
               defending the Dream Yard Action, negotiating a resolution of the IRS
               lien on the Brickchurch Property, repairing certain corporate structure
               issues in both Delaware and the British Virgin Islands, and numerous
               other related issues.

        c.     Skill Requisite to Perform the Legal Services Properly. Duane Morris
               believes that its recognized expertise in the area of financing, tax,
               litigation, and bankruptcy law, its ability to draw from highly
               experienced professionals in other areas of its practice as needed, and its
               creative approach to helping clients achieve their goals has benefited the
               Debtor.

        d.     Preclusion of Other Employment by Applicant Due to Acceptance of the
               Case. Although Duane Morris’s representation of the Debtor did not
               preclude its acceptance of new clients, Duane Morris’s professionals and
               paraprofessionals shouldered the demands for immediate and substantive
               action to advise the Debtor on exigent matters critical to its estate.


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  e.    Customary Fee. The rates Duane Morris charges for the services
        rendered by its professionals and paraprofessionals in the Bankruptcy
        Case are the same rates Duane Morris charges for professional and
        paraprofessional services rendered in comparable non-bankruptcy
        matters. Duane Morris’s fee structure also is equivalent to the fee
        structure used by Duane Morris for litigation, restructuring, workout,
        bankruptcy, insolvency and comparable matters, as well as similar
        complex corporate and litigation matters, whether in court or otherwise,
        regardless of whether a fee application is required. The firm’s customary
        hourly rates and rate structure reflect that litigation, restructuring, and
        related matters typically involve great complexity, numerous tasks
        requiring a high level of expertise, and severe time pressures, as is the
        case here. Duane Morris’s rate structure is similar to the rate structure
        used by other, similar law firms that work on other, similar matters. It
        should be noted that Duane Morris’s standard hourly fee were
        substantially reduced. For example, most of the Duane Morris work was
        done by Partner Brett Messinger. Mr. Messinger’s standard rate is $1,325
        per hour, but Duane Morris has charged for this matter a rate of only $850
        per hour.

  f.    Whether the Fee Is Fixed or Contingent. Pursuant to sections 330(a) and
        331 of the Bankruptcy Code, all fees sought by professionals employed
        under section 327 of the Bankruptcy Code are contingent pending final
        approval by the Court and are subject to adjustment depending upon the
        services rendered and the results obtained. The contingency of full and
        actual compensation to Duane Morris increased the risk that Duane Morris
        assumed by representing the Debtor as special litigation counsel in the
        Bankruptcy Case.

  g.    Time Limitations Imposed by the Client or Other Circumstances. Given
        the Debtor’s urgent need for the DIP Facility, Duane Morris was
        required to solve problems and in real time when the Debtor needed to
        take expedited action on pressing issues and time-sensitive matters
        relating to negotiating, securing, and closing such facility, with the goal
        of protecting and advancing the Debtor’s interests in the most efficient
        manner possible.

  h.    Amount Involved and Results Obtained. Duane Morris professionals and
        paraprofessionals worked diligently to maximize value for the Debtor’s
        estate by helping the Debtor secure the DIP Facility, obtain the DIP
        Order, and address numerous actual and potential litigation issues and
        contested matters. Duane Morris helped the Debtor obtain financing that
        may facilitate a successful emergence, and it services reduced the
        Debtor’s exposures to liabilities that could jeopardize the estate. Duane
        Morris respectfully submits that the fees requested in this Application are
        reasonable and appropriate when considering the results obtained on
        behalf of the Debtor as more fully described in the summary of services.

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         i.      Experience, Reputation, and Ability of Attorneys. Attorneys in Duane
                 Morris’s litigation, bankruptcy, and tax groups are consistently recognized
                 as leading attorneys in their fields. During the Fee Period, Duane Morris
                 solicited the skill and expertise of its attorneys, a number of whom have
                 practiced law for over 20 years in a variety of jurisdictions and legal
                 disciplines. Duane Morris attorneys have actively represented businesses
                 such as the Debtor both in and out of bankruptcy. Duane Morris’s
                 extensive experience enables it to perform the services described herein
                 competently and expeditiously.

         j.      “Undesirability” of the Cases. Representation of the Debtor in this case
                 is not undesirable. As noted above, however, Duane Morris’s
                 representation of the Debtor in this case has required a significant
                 commitment of time and effort.

         i.      Nature and Length of Professional Relationship. Duane Morris has
                 been rendering professional services to the Debtor since prior to this
                 Bankruptcy Case and on the issues raised in the Bankruptcy Case since
                 approximately September 2022.

        38.      For the reasons set forth above, the services rendered by Duane Morris were

necessary and beneficial to the Debtor and were consistently performed in a timely manner.

The compensation sought in this Application is reasonable in light of the value of such services

to the Debtor, Duane Morris’s demonstrated skill and expertise in the litigation, tax, financing,

and bankruptcy fields (as well as other areas of expertise relevant to the Bankruptcy Case), and

the customary compensation charged by comparably skilled practitioners at Duane Morris.

Accordingly, Duane Morris respectfully submits that the Court should allow the payment of

compensation for professional services and reimbursement of expenses sought herein.

        39.      No agreement or understanding exists between Duane Morris and any other

person for the sharing of any compensation to be received for professional services rendered or to

be rendered in connection with the Bankruptcy Case. No prior application has been made in this

Court or in any other court for the relief requested herein as it relates to the Fee Period.

        40.      The Debtor will have the opportunity to review this Application and the fees and

expenses requested herein.

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                                 RESERVATION OF RIGHTS

        41.     To the extent that there are services rendered or expenses incurred that relate to

the Fee Period but were not processed prior to the preparation of the Application, Duane Morris

reserves the right to request additional compensation for such services and reimbursement of

such expenses in a future application.

                                             NOTICE

        42.     Notice of the relief requested herein has been served on all parties required to be

served pursuant to the Local Rules and Bankruptcy Rules, including the Office of the U.S.

Trustee and all parties who have filed notices of appearance and requested such notice.

                                          CONCLUSION

       WHEREFORE, Duane Morris respectfully requests: (i) the interim allowance of

compensation for professional services rendered during the Fee Period in the amount of

$290,850.00 and reimbursement of expenses in the amount of $4,679.93; (ii) that the

allowance of such compensation for professional services rendered and reimbursement of

actual and necessary expenses incurred be without prejudice to Duane Morris’s right to seek

additional compensation for services performed and reimbursement of expenses incurred

during the Fee Period which were not processed at the time of the Application; and (iii) such

other and further relief as the Court deems just, proper, and equitable.


Dated: January 5, 2023                                Respectfully submitted,

                                                      DUANE MORRIS LLP

                                                      /s/ Brett L. Messinger______________
                                                      Brett L. Messinger
                                                      1540 Broadway
                                                      New York, NY 10036
                                                      Tel.: 215.979.1508
                                                      Email: blmessinger@duanemorris.com

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                                        SPECIAL LITIGATION COUNSEL
                                        FOR THE DEBTOR




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